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Case 1:18-cv-08208-VSB

 

United States District Court
Southern District of New York

Jessica Wrobleski,

Plaintiff, Pro Se 18-cv-08208-VSB
-against- Third Amended Complaint
Little Flower Children and Family Services, Trial By Jury --- No

Sheila Johnson, Barbara Simon, New York City,
A.C.S. Commissioner David Hansell, David Usdan
Respondents.

 
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!. Basis For Jurisdiction
Federal Question
Diversity of Citizenship

A. If you checked Federal Question
Which of your federal constitutional or federal statutory rights have been violated?

Reproductive rights sanctioned and limited because of the actions of the defendant and privy
parties fraud, misconduct, ASFA of 1997 violations in length of time, Substantive and procedural
due processes obstructed; tampered with to removal impartiality, 14th amendment parental right
liberty interest and child custody, Equal Protections Ciause, 8th amendment freedom from cruel
and unusual treatment per ASFA time length and in causing severe distress from their legal
malpractices and abuse of the processes, malicious prosecution.

B. Of what State is each party a citizen?
The plaintiff, Jessica Wrobleski, is a citizen of the State of New York.

The Defendant(s) of who are individuals are:
1. The defendant, Sheila Johnson, is a citizen of the State of North Carolina.
2. The defendant, Barbara Simon, is a citizen of the State of New York.
3. The defendant, David Usdan, is a citizen of the State of New York.
4. The defendant, Commissioner David Hansell is a citizen of the State of New York
The Defendant(s) as a corporation are:
1. Little Flower Children and Family Services, is incorporated under the laws of the State of
New York, has its principal place of business in the State of New York.
2. New York City, is incorporated under the laws of the State of New York, has its principal
place of business in the State of New York.

il. Parties

A. Plaintiff Information
Jessica A. Wrableski
190 Henry Street 1st Floor
Binghamton, New York 13901
T: 607-621-0884 E: VWWrobleskio 138 @amall com

B. Defendant Information
Defendant 1: Sheila Johnson
1331 Western Ave.
Rocky Mount, North Carolina, 27804
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Defendant 2: Barbara Simon

Little Flower Children and Family Services
630 Flushing Ave

Brooklyn, N.Y. 11206

E Simonb@lfcnitd org T: 631-929-5341

Defendant 3: David Usdan

MHS Office of the NYS Family Court NYC
60 Lafayette Street 6th floor

New York, N.¥. 10013

Defendant 4: Commissioner of the A.C.S. David Hansell
150 William Street 18th floor
New York, N.Y. 10038

Defendant 5: New York City
Corporation Counse!

100 Church Street

New York, N.Y. 10007

Defendant 6: Little Flower Children and Family Services

Attn: Corinne Hammons and Antonino Esposito

2450 North Wading River Road or 630 Flushing Ave.
Wading River, N.Y. 11792 Brooklyn, N.Y. 11206

T: 631-929-6200 E: hammensc@lichiid oro

lH. Statement of Claim
Place(s) of occurrence:
a. Little Flower Children and Family Services Offices in Queens but moved to Brooklyn
41-2019
b. A.C.S. 150 William Street NYC, N.Y. 10038
c. Reportings to and affected N.Y.S. Family Court N.Y.C 60 Lafayette Street, NYC, N-Y.
10013
Dates of the occurrence: 2015 - present

Facts:
(The facts that support my case. Describing what happened, how i was harmed, and what each
defendant personally did or failed to do that harmed me.)

1. Per Rule 8 of FRCP, the grounds for jurisdiction is that this is a case matter of federal
question for a civil rights complaint matter that alleges that the defendant parties and
privy parties commitied fraud, abuses, misconduct, malpractices, deliberately to obstruct,
interfere with, tampered with (by adding lies or refusing to add truthful contents given to
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them), caused to remove impartiality from this plaintiffs substantive and procedural due
processes in the NYS Family Court NYC case maiter that has taken custody of my son
from 2013 until 2020, has caused this plaintiff to be deprived of and violated of 14th
amendment protections of parental rights liberty, child custody. Has caused the case to
violate ASFA federal law, has caused cruel and unusual punishments in their prolonging
the case matter in malice because it was not favorable to the outcome they chose and
caused cruel and unusual punishments in their decisions of abuse towards this plaintiff.
Whereas the pleader is entitled to reliefs from this court in a due process claim to have
interference to because the due process was obstructed and fairness was taken away by
the defendant and privy party actions that | am seeking if possible to have injunctive
relief to have my son returned to me or to have ruling in regards to the deprivations
caused by the parties actions. Additionally pleader is entitled to damages from
documented and proven pain and suffering severe distressed caused by the defendant
parties illegal actions and violations, and compensation for the money loss caused by
the parties and privy parties actions. This plaintiff is requesting the reliefs sought or
alternatives that this court can provide which would minimally be a trial on the facts of
the actions of the parties under federal question to determine guilt or lack of that would
be in orders to provide me the relief | am seeking without the court impeding on state
ability to do its judicial functions. An order against the parties would have the same affect
as an injunctive relief if they are found guilty in this court.

Commissioner David Hansell and ACS

4. Commissioner David Hansell and his counsel Joseph Cardieri was sent a complaint of
my case situation in 2018 asking him to review my case, explaining that Adriane Eisen
had presented fabrications and false information she attributed as being on the evidence
records but was not and her fabrications had an affect of being relied on instead of the
direct evidence so it changed facts of the case matter.

2. |sent letters to NYS-OCFS in 2018 to the same request that ACS Commissioner would
review my case stating that | am innocent so it can be withdrawn.

3. In 2019 | sent text message and email complaints to NYS-OCFS and ACS who
responded to the forwarding of my complaint to ACS where | requested Commissioner
Hansell to review my case matter and withdraw his petition against me.

4. Commissioner Hansell ignored my requests and never responded to me.

5. Commissioner Hansell has official capacity to review cases and make decisions of
withdrawing petitions and cases that interfere with child custody

6. Most complaints to ACS went unresponded to such as letters to the ACS Law
Department and emails in 2016; 2018, complaints and letters to ACS in 2016 and 2018,
email complaints that went through NYS-OCFS to ACS in 2019 and a reply by mail
occurred directing me to only take my issues to the Director Keisha Malphurs of Little
Fiower CFS. Reference EXHIBITS A, B, O

New York City Liability parties
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1. The following agencies was contacted in connection with having an official position over
ihe case parties to my Family Court:

a. NYS-OCFS from 2016-2020

b. NYC-OCFS in 2016 but by the state office at other times after

c. ACS Commissioner, Office of Counsel, Law Department, Office of Advocacy,
ACS itself all within the same office building complex from 2016-2019
Appellate Division First Department Attorney Grievance Committee
Appeliate Division First Department
Commission of Judicial Conduct
NYC Department of investigations - Laura Millendorf
NYC Public Advocate's Office
All jawyer parties to the subject child case matter; NYS Family Court judges
2. The City Agencies that had official capacity over ACS, Like how ACS also had official
capacity over Little Flower CFS, denied intercession, ignored my complaints, or passed the
complaint to another agency DOI to Public Advoc. And Public Advoc. back to DOI.
3. The City agencies allowed and condoned in their lack of interventions at their official capacity
to reprimand the situations with ACS and privy party Little FLower CFS to where | reported
fabrications, case tampering, malicious prosecution, case mishandling and mismanagement,
fraud and abuse, and abuse of the processes from ACS Adriane Eisen and Morgan Mollinoff
and Little Flower staff
4. City and state agencies had official capacity over the judge and the lawyer parties in the case
and | was under limitations as an incarcerated state prisoner that not only they condoned and
allowed legal malpractices and abuses to occur in my case when they had official capacity to
censure, etc but they also refused to give me the information necessary to provide them with
whatever they needed (aside from my assertion to look at transcripts and court records of
certain dates, including professional misconduct citations from NYCRR Section 1200) to prove
my complaint of their actions.
5. City and State reacting with inadequate role that NYS-OCFS would only process complaints
to NYC-OCFS regional and ACS but would not intervene when NYC-OCFS and ACS did not
perform the job with common sense but superficial inadequate job performance or left
information out.
Assertion of facts to the story line of how the City is at municipal liability
The City is a party because | was assigned various counsel whom i fully cooperated to and gave
various evidences to including information from the Bellevue file that stated while i was in
Bellevue for 15 days: | was 37 weeks pregnant, with high risk issues that resulted in a blood
transfusion, i stayed until i was due, i was under psychiatric observation every day by the same
assigned psychiatrist who was not called to testify, the assigned psychiatrist stated in the record
in his notes that he was ordered to collect information and find out about me and my daughter
and contact my family in pennsylvania that he did not prescribe me any medication because he
found that i had no psychosis or affective condition, or depression as stated in the intake
allegation etc., that i did request immediately upon being admitted; from MHLS to be released
through court order that was not scheduled to be heard until the tuesday before my due date.

“Fame o
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ACS filed a petition that was staitng | self reported, when | am not a psychologist, and they had
no insight on the contents of the bellevue file when they filed that approximately 2-3 weeks later
they amended petition in support of a 2 time psychiatrist instead of the 15 day psychiatrist and
with false hearsay information from parties who atso did not have access to the bellevue file
contents that called ACS in the first place. That during trial the second assigned psychiatrist
from the maternity ward who had and told me ACS was cailed when | woke up from ceserean
major surgery that he impressed i was mentally retarded etc because i would not talk to him
because i was extremely upset that ACS was called and | wasnt allowed to see my child, where
at discharge he prescribed no medication and all that was also indicated in the Bellevue file. |
complied with all services but 2 services and those 2 services was compensated for by

engaging in similar or better services in my matter of compliances, and all information was made
available to the case parties to my ability.

| attended to outpatient and inpatient observations to 4 State Licensed Mental Health Service
providers: Sidney Hillman Clinic, Beth Israel Hospital, Cognitive Behavioral Services of
Philadeiphia, NYS-OMH. Ail of which had a unanimous pattern of agreement, pattern of
behavior from me, similar diagnoses of trauma from separation of my son and court related, and
that | was tested for and rationalized to not have any of the diagnoses that ACS alleged in their
petition to my case and fhe amended petition. That was aiso explained to the defendants and
privy parties that the trauma | was suffering was not a serious complicated mental iliness that
would fall into the guidelines of questioning parental fitness that my parenting skills were intact
and good. Irregardless what i did the defendant parties and their privy parties enacted malicious
prosecution. The foster agency staff defendant parties changed their testimony to the court in
2018 to lie against me of 2016 when | provided copies of all the emails corresponded to and
from them in 2016 to the assigned counsel fo me who did not produce any of the evidences that
i gave to the trial record, that i asserted fo the trial judge that i gave such and the trial judge toid
me the assigned counsel would put them on the record. Despite not doing that, the trial judge
accreditted the change in testimony that completely contradicted the ACS Connections case
interaction visitation jogs and detailed records, that they alleged | was violent in front of children
at the agency but that they did not call the police or notify the court to suspend visitation.

ACS Office of Advocacy even praised my books | made and sent to my son while incarcerated
that although without support because the foster agency failed to protect him from mental heaith
harm by not giving him accessing him to appropriate and qualified mental health services where
as Barbara Simeon is not clinical psychotherapy to treatment serious mental health DSM-V
diagnostic impressions made in various psyche evaluations that the court MHS office staff
recommended him to therapy which in a general sense as it was does not mean foster agency
play therapy by foster agency staff but if you say therapy to anybody they immediately relate
therapy to clinical psychotherapy and not a program by a private agency. This caused me
severe emotional distress, i was diagnosed with PTSD with Panic Attacks because of the gross
intentional actions and negligence of the defendant parties.

| additionally made complaints to various city and state agencies, where the state agencies
would send the complaints and do further re-direct to their city regional departments. These
agencies was (and including the ACS Commissioner himself): the ACS Counsel department of
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Joseph Cardieri, N.Y.C-O.C.F.S, D.O.L, NYC Public Advocate Office, ACS Office of Advocacy,
NYS Courts, State |.G., State Attorney General,

A.C.S. and Little Flower CFS privy party

1,

After my previous case SDNY 13-cv-08736WHP was dismissed to venue of the state
courts etc. and the Bellevue file was released to me. The A.C.S Law Dept. staff had
scored a win with the then family court judge by lying of the contents of the Bellevue file
(and introduced the practice of creating verbal and typed reports of fabrications to the
court record that literally distorted the contents of the evidence files that was on the court
record which included the Bellevue record, the ACS Connections case interactions
record, transcripts of testimony etc) to state that | was prescribed meds and refused the
meds etc. when | was never prescribed psychiatric medication by any of the two
psychiatrists of the Bellevue record. Additional to not being prescribed medication, the
actual psychiatrist notes explained that | do not have “psychosis or affective condition”
while completely unmedicated except for prenatal and medical medications given to me
per late term pregnancy related. The psychiatrist per the amended who met with me
twice and opined some mental iliness allegations including mild mental retardation,
recanted in 10-2014 testimony cross-exam that he acknowledged that | was very upset
(the bellevue record also acknowledges that) at ACS being called on me and that |
wouldn't talk to him about my feelings which led him to impress such a diagnoses of me.
Prior and up to the point of trial | fully cooperated and gave the court record a copy of my
only mental health past history as an adult that acknowledged that | had some
controversial issues as a teenager but that none of such carried on into adulthood, |
passed an extensive standardized evaluation with high scores to be approved to go to
college for a federal level degree program of Computer Forensics that | maintained
Dean’s List for most of 2 years therein and that the evaluation report specifically
mentioned that | was recommended for such and determined a gocd fit compatible for
that aspiration. My test scores proved no history of mental retardation or cognitive
impairments that would be diagnosed by age 21, that my only history prior to my son
being taken in 2013 was that | had a year therapy services after my grandmothers died a
year apart where | completed the Cognitive Behavioral Therapy program and had a prior
diagnosis of Anxiety. All of such was placed on the court record for the court's
consideration to return custody of my child to me.

| had sent letters of complaint directly to the ACS Commissioners office, and Joseph
Cardieri specifically asking for my ACS case to be reviewed and explaining of the
fabrications, and fraud matters in 2015 and while | was incarcerated in 2018. | received
no reply. The Commissioner in his official capacity has signed the documents to the
Family Court matter and has been the petitioner against me represented by the ACS
Law Department. In the Commissioners official capacity, a review of the case and
actions could have been made to prevent, to intervene, and to rectify the matters on part
of ACS party to not proceed in such a way against me, to the point that absence of a
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case maiter action their case could have been withdrawn. ACS parties are also
responsible for the subject child receiving qualified supportive services to not alienate
me as a part and to heip maintain and strengthen our relationship damaged by the foster
care separation, even prolongedly, but the ACS party has taken the action to declare
that adoption should take piace because of emotional distress displayed to react in the
best interest of the subject child, their own mental health treatment determination to the
matter rather than involving the mental health qualified providers to expert opinions, deai
with the matter and present the options.

. ACS Law Department issued a report and verbal report to the court in approximately
10-2014 trial, shortly before Judge Pauley dismissed my 13-cv-O8736WHP case
explaining to the court false information that ACS Law Department attributed to the
Bellevue Subject case record stating that the reason why | was denied custody was
because | had refused to take psychiatric medication. The Bellevue record affirms | was
not recommended any psychiatric medication nor was | prescribed any psychiatric
medication, and explained all good reports about me and my ability to care for my child,
that physician notes specifically said that | did not have any psychosis or affective
condition as per the ACS petition Reference EXHIBIT B. ACS Petition, ACS Amended
Petition, 10-2013 ACS court report (Ms. Gomez)

. Also in the documented report they called me Ms. Gomez whereas my name has never
been Ms. Gomez. Reference EXHIBIT B 10-2013 ACS court report

| went to ACS Office of Advocacy several times from 2013-2016 and wrote to them in
2018. Each time they failed to give me any services, explained they had advocates for
parents but never contacted me or assisted me with my case after they took my phone
number and said they would and | went back to them at least 3 times total where they
produced the same results of listening to my pain and suffering and no services.

. At every turn of the case, when | never had incidents or episodes of mental illness and |
was fully compliant, Adriane Eisen would distort, fabricate reportings of the record
contents to a distortion. Adriane Eisen distorted the record contents to Judge Knipps
4-29-2015 decision and prior Reference EXHIBIT B

. Additional to Number 4, Sheila Johnson and Little Flower CFS staff also refused to

provide service plan referrals, made me search for my own services, despite always
having good visits and successfully completing all service plan services and extra
services where thereafter | showed | benefitted (but sheila Johnson and other staff gave
inadequate visitation details to the ACS Connections log record and this was brought to
her attention where she was asked to give details to prove that | benefitted but her and
other staff refused and continued as they did), withheld a lot of information from the
court, but ultimately refused to case progress my case fo reunification of custody and
subsequently did not present anything in my favor and withheld anything but certificates
of program completions and superficial inadequate visitation reports to ACS and did not
participate to the goal change conference in front of ACS facilitators to say anything in
my favor during that discussion of visits and programs Sheila Johnson stayed quiet next
to ACS Adriane Eisen despite the goal being unchangeable by them and was remaining
at reunification of custody by court order, when ACS Adriane Eisen told ACS facilitator |
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do not believe Ms. Wrobleski benefitted from programs. Sheila JOnnson deliberated and
subtly implied negative influences to my case matter to cause me to lose my son.
Reference EXHIBITS | found my own services, Reference SDNY 13-cv-08736WHP
During 2016, Sheila Johnson complained to ACS and subsequently the complaint went
to my assigned counsel that | was trying to talk to her about the case, court and that |
was very upset and angry. No incidents of mental iliness behavior or episodes was
reported or documented.

Thereafter | was incarcerated 2017-2019 and Sheila Johnson fabricated reports in 2017
to say lies of what happened at NYS-DOCCS recorded visits. Reference EXHIBIT K

In 2018 Sheila johnson changed her testimony in 2018 from the ACS case records
contents to that of tried to influence the court to believe that | was mentally ill, violent and
with severe anger problems, that in 2016 and 2017 (when | was discharged fram MHS
successfully, so | was not on medication and was able to function without panic attacks
without medication) that | was always violent and verbally abusive towards her at
visitation in front of small children and my son, but that the court was not informed of
such and the police was never notified. In 2017 she said | was also verbally abusive
towards her and violent (while | was incarcerated, and state correction officers was
present at all times). Reference EXHIBITS E, K, O

In 2019, Little Flower staff ignored my requests and my parental interventions to have
my son put in qualified MHS and OPWODD involvements that ! offered to pay for.
Additionally Little Flower issues monthly court reports to the ACS Law Dept. who in turn
issues them to the NYS Family Court case matter. in 2019 | gave Little Flower CFS staff
case planner and supervisor, who took Sheila Johnson’s place, several dozens of
relevant case documents of MHS reports, records, certificates to programs completed,
items from programs completed that show benefitting in programs, that Little Flower CFS
staff refused in all of 2019 to add to the court record and to present, where they had
plenty of opportunity to add the items to the court record through ACS as is their job
function to case plan and social work with the respondent. Reference EXHIBIT B, |
Little Flower CFS staff have case tampered with what contents will and will not go onto
the NYS Family Court record pertaining to this plaintiff and her son. Reference
EXHIBITS

ACS Adriane Eisen was given ACS Connections record access to visitation notes and
foster agency notes from Little Flower to the ACS record which is a computer database
that gives immediate data entry accesses to both parties ACS and Little Flower CFS and
despite the notes of all goad visits etc she decided that | had behavioral health problems
and continued at each permanency planning hearing to refuse me custody, to refuse
case progression, to make unsubstantial allegations, to distort evidence record contents
including an incident that happened 9-12-2014; in 2016 reports that because of that she
does not believe | benefited from the service plan that was completed after that but she
mislead the court to exclude that piece of information Reference EXHIBITS A, E, D

ACS parties have case tampered with what contents will and will not go onto the NYS
Family Court record pertaining to this plaintiff and her son
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Despite all services was completed and my full successful cooperations occurred, ACS
Adriane Eisen continued to dilligentiy and unsubstantially assert a case against me
despite | completed all services timely and had good visits with or without visit details
Little Flower CFS staff Sheila Johnson and privy parties refused to elaborate visit details
to the ACS Connections record, however they explained that | had good visits
Reference EXHIBIT E, A, B, K, O, D

Little Flower CFS staff refused in 2016 to case progress my case that was going into its
3rd year in foster care with all service plan services completed and despite good visits,
successful completions etc Sheila Johnson and Little Flower CFS staff refused to
recommend my case to ACS to progress to unsupervised and to reunification of custody
measures as was the court ordered goal of reunification of custody from 10-2013 until
2-2018 Reference EXHIBIT A, D

In June 2016 Adriane Eisen of the ACS Law Dept. unsubstantially stated in (an
attempted) goal change conference that she did not believe that i had benefitted from
the service plan services that i had already successfully completed entirely the first of
two times | completed the same services. The foster agency staff defendants was not
reporting details of my visitation and successful completions of various services from the
service plan and not from the service plan to where i displayed excellent parenting skills
at visits. These was reported irregardiess to the ACS through the court record, the ACS
Connections case record that stated ail good visits, in the June 2006 meeting also was
told to the ACS parties that this plaintiff did all she was suppose to do and did not cause
any problems at visits or to anybody but had good visits. ACS was given sufficient
information to come to these determinations but instead made unsubstantiated
concocted allegations of “we don’t think she benefitted from services” despite that the
foster agency staff defendants made brief reports that visits were good. The foster
agency staff defendants made absolutely no recommendation for case progression to
the actual court ordered goal of reunification of custody. During that same month and
year, i met with the foster agency staff defendants to discuss such and they explained
that they could not recommend case progression because Adriane Eisen said | have
behavior health problems. The foster agency staff lied when it was in their official
capacity to make such recommendations or not to the ACS Law Department that they
are directly connected to through the ACS Connections computer system case
interaction and communications. Just like they lied on the permanency hearing reports
consistently stating that | had Schizophrenia, Depression, and anger problems yet
nothing substantiated that and they had enough interactions with me te discover that |
was lucid and had no such reported, documented episodes plus never medicated for
those specific issues.

Also, the foster agency staff defendants was stating in their reports that | was self
reporting schizophrenia in Bellevue as the reason my son was taken and then stating
that i was actually diagnosed with schizophrenia in the area of their Permanency reports
where they are suppose to be reciting the case work they was suppose fo be doing with
me to the goal of reunification of child custody that was in place from 10-2013 until
2-2018, but instead of working the case the foster agency staff defendants stated that i

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was schizophrenic and suppose to be mental health services and gave minimal
discussion about my completing the service place programs twice plus all the extra
programs | completed that was not ordered by A.C.S. Simultaneous to ACS Law Dept.
parties presenting false information to the court verbally and in their own reports to the
court, the foster agency staff defendants were also doing the same fraudulent
misrepresentation that this party had to rely on to get custody of her son because there
was no other way.

21. Dwight Kennedy who was retained as counsel by Antonino Esposito of Little Flower CFS
was informed on the record at various points: 7-9-2018, 12-3-2018, during TPR trial .
testimony. Additionally a complaint to Antonino Esposito was sent to Esposito directly via
email explaining that the mental health records on the record provided | am innocent, |
fully complied, | had excellent visits and proved my parenting skills, and that the case
should be withdrawn Reference EXHIBITS

22. At various points of the years the case was open in violations of ASFA of 1997 law, ACS
Law Department was sent letters informing them of facts of the matter to give them
reason to believe that the Article 10 case matter should be withdrawn, that my behavior
isnt episodes of schizophrenia or severe mental illness, | had consistent interactions with
ACS and the Court for them to know that | was not presenting ever as a person with
mental illness or mental iliness per their allegations, that | am innocent of the allegations
ACS put against me. ACS was given reason to believe that | was innocent and pursued
the case with privileges from the judges to pursue and produce unsubstantial case
matters, allegations to their cause.

23. ACS Morgan molinoff took over the case after Adriane Eisen left and continued with the
same fabrications that Adriane Eisen left to her, and also ignored my correspondences
sent to her.

Barbara Simon

1. Barbara Simon is an employee of Little Flower CFS who is a LCSW Play therapist of
children prolongedly in the foster system and having minor struggies

2. Barbara Simon is not in a Clinical MHS environment under her employment status that
includes Little Flower CFS make-shift MHS department but does not have the same
methods as a clinical MHS agency has whereas there is a psychotherapist, psychologist,
psychiatrist treatment team that has patient interactions monthly for psychiatry, and
collaborations from psychologists and psychotherapists to treatment methods such as
CBT, RET, DBT programs = treatment.

3. Barbara Simon has continuously produced inadequate services with no
recommendations to qualified MHS or developmental delay agencies to the subject-child
who has deteriorated under her inadequate care

4. Barbara simon has produced biased, one-sided reports in favor of the foster parents and
Littte Flower CFS agency that prohibitted my participation

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Barbara simon continuously recommended 6 months more of her play therapy program
as the treaiment, to the court

Barbara simon recommended and enacted parental alienation, PAS, as the treatment for
the subject-child having symptoms after visiting me allegedly but not provenly, and as a
response to the subject-child’s trauma at the prison environment

Barbara simon demanded to know from the court why in regards to me having telephone
contact or visits in 2019, and also because she is unqualified to formulate a mental
health expertise and professional apinion to the answer of the ability to have visits,
barbara simon admitted to.the parental alienation as preparing him for adoption pre TPR
tdal conclusion

Barbara Simon has not effectuated a known treatment method that clinical MHS do
Barbara simon reported that | self-reported schizophrenia etc as her judgments about
me. That | contacted barbara simon and she refused to return my calls, messages. In my
contacting barbara simon | explained of not being mentally ill and things about my son
but she refused to contact me or allow me to participate in the play therapy parental
participations from 2015 until 2020.

Barbara simon is not qualified to deal with developmental delays, and the serious
DSM-V diagnoses and Intellectual developmental disability impressions listed for the
subject-child and has deceived and allowed to be deceived the court of her official
capacity as being expert, clinical mental health care and not the LCSW agency play
therapist that she is. (Having experience in clinical and being in clinical in the current
case are two different matters when the subject child was recommended to therapy by
court MHS which generally means MHS clinica! outpatient care and not private foster
agency program therapy designed for children with mild to moderate trauma when the
agency produced serious traumatic results to our lives to list us as serious trauma and
not mild to moderate separation related trauma struggles in temporary foster care
system designed not for 6 years but for 15-22 months. There is a difference.)

Barbara Simon adjusted her reports to include only biased information and promoted
herself as a qualified psychotherapist to treatment serious mental illness diagnoses, but
was in fact not qualified on that level or in a clinical environment setting along with
factually, according to reports did not provide any standardized known clinical treatment
plan or medication assessments to the subject-child that a clinical mental health service
providers would provide, while she knew factually that the subject-child was diagnosed
with serious mental health and developmental impressions that was beyond her
qualifications, Barbara Simon continued to take his case; and did not make appropriate
recommendations as a mandated reporter to the appropriate qualified outside agencies
to the best interest and well being of the subject child and has caused the subject child’s
mental health deterioration by presenting such facade of her credential abilities that in
his case required a professional psychiatrist and psychologist clinical interventions, and
separate from mental health services required treatment centers that deal with
developmental delays; trauma and cognitive impairments such as OPWDD. Barbara
Simon additionally used her position to fabricate reports to the court against my having

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any visitation, unsubstantially according to what a mental health service provider would
detail as to what would and could occur, with recommendations.

& privy parties colluding

. Legal Aid Society was assigned as the child lawyer and aiso replicated the practices of

verbally distorting contents of the case record to support the ACS parties during
Permanency Hearings where they remained unanimous to an emotional plea of adoption
as specifically stated and had no concern or care for the legal standards of the case or
truth or justice as asserted in the escalated conduct on the court record who also offered
distortions of the information so that the subsequent judges would rely on their reports
and not on the evidence on the record that case parties made false statements against.
Legal Aid in colluding with ACS in fabricating verbal reports fo the court record that are
contradicted by evidence but was designed to take the place of the evidence where the
Lawyer parties did not produce an exhibit to substantiate claims also did a presentation
on 1-28-2020 during the irial

Legal Aid in colluding with ACS refused to zealously represent their child-client to
receive qualified, appropriate services. Also refused with ACS to attain services to
support parent-child bond weakened by the state interventions. And limited its
representation to the ACS agenda of enacting a vicious adoption scam interests and not
the child-clients all around interests

David Usdan

on

. The Court MHS office produced 5 meetings with this plaintiff. By 3 individuals, in over 5

years of the case history, spread out over years time frame.

David Usdan committed fraud and collusion with the colleagues of his agency and with
the court staff and case parties in opposition of me.

David Usdan created a 30 page report that alleged that | entrusted myself to him to
confide in him mental health related informations that | have consistently denied and
never reported prior, so as to create a profile of me that is consistent with the ACS
petition; amended allegations, the foster agency and case party demands, and
misconstruing from other reports that could be made to support the ACS parties and
reflect negatively against me when in fact they was not.

David Usdan did the exact same fabrication of reports to demonstrate that evidence says
and reflects what the evidence did not say and reflect to support case opposition against
me.

The behaviors David Usdan exhibited was honest service fraud.

David Usdan interviewed me twice: once on 2-1-2018 and then on 9-22-2018. Both
times David Usdan met with me for 6 hours each. The first time was to explain a detailed
time line of my life from 1980 until present to that time, events, reasoning to what i did,
how others treated me, things | remember and did good or bad. The second interview
was to re-question certain things that | had already explained so | reexplained because

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the truth did not change. David Usdan argued with me that because | had history in
mental heaith as a teenager, and later when | was 26 for Anxiety that | had a life long
history and that he was going to tell that | had a lifelong history, BPD and Bipolar from
my 2006 evaluation. | yelled at him where as he labeled that aggression and violence
and further damaged my character to the court to make me appear as he said and gave
his decision that | would not be a fit parent now or in the future that my mental illness is
so complex that even treatment would not work.

7. The diagnosis impressions that David usdan made against my character, the treatment
programs was already completed for those type of mental ilinesses in my immediate
history and i was directly stated on those records that | did not have BPD or any of the
ACS alleged mental ilinesses

Wherefore, all | have presented in third amended, motion of opposition is supported in Exhibits
produced with this and to my ability and each allegation can be referenced to the contents of the
Exhibits fo find that it is true and correct.

The defendants and privy parties actions was of fraud, case tampering, legal malpractice,
malicious prosecution, abuse of the processes to not for what they are meant for.

The defendant parties and their privy parties made a fraud scheme of my Family Court case
matter which caused me loss pertaining to my 14th amendment life liberty and property

The defendants should be made to support each and every accusation and allegation that they
bring to this court against me instead of assert things on the record that was allowed
unsubstantially in the NYS Family Court NYC without an attached exhibit.

in that | am asserting the following: The defendants and privy parties actions was of legai
malpractice, malicious prosecution, abuse of the processes not for what they are meant for. The
defendant parties actions denied me equal protections under the law and procedural due
process equal to others of similar or worse cases than mine, where | fully cooperated, and aside
from 1 traumatic incident in 9-2014 where | refused to give my son back to the foster parents
because the foster agency defendant parties was in contempt of court order to have me in
supportive dyadic therapy which is for trauma from separation by the foster system specifically, |
had reportedly went from remission to severe panic attacks at the continuous cruel cycle of
returning my son to strangers weekly to that incident. Other than that incident there is no
substantiated incidents or episodes of behavioral health from me in 6 and a half years of a case
matter. The defendant parties and their privy parties made a fraud scheme of my Family Court
case matter which caused me loss pertaining to my 14th amendment life liberty and property

Injuries

(Describe your injuries and what medical if any you received)

The injuries that | received was that | never before had a trauma diagnosis in my past history of
mental health services which from the age of 18 in 1998 until 2013 (15 years) | only had a 1
year clinical psychotherapy, with a diagnosis of Anxiety that was treated with meds and a 9
month program called C.B.T as my history.

Because of the defendants and privy party actions, | provenly, documentedly, reportedly
suffered and had symptoms of severe emotionai distress and trauma and had to undergo
treatment.

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Additionally i was unable to hold a job and was approved for 3 years of temporary SSI during
the treatment periods 2015- until 1-2017 incarceration. My quality of life has not recovered that |
am without my children and under limitations to my ability to have children and have a family
because of the defendants actions caused harm and limitations to my reproductive rights that |
am allowed to reproduce but | would be subject to state CPS interventions on taking my
reproduced offspring

Whereas since my son was taken | immediately showed reported signs of trauma, severe
emotional distress and crying in the early reports from bellevue, Beth Israel, Sidney Hillman
Clinic, Cognitive Behavioral Services of Philadelphia, and NYS-OMH. | developed PTSD
symptoms and Panic Attacks that | had to do a psychotherapy program of Dialetical Behavioral
Therapy for 9 months plus subsequent mental health services from Cognitive Behavioral
Services Center and NYS-OMH that both reported my severe emotional distress, anxiety and
panic attacks, PTSD symptoms and that the causation was from the case parties actions and
the separation of my son from my custody.

The actions of the defendant and privy parties in my case matter was psychological torture and
caused me severe distress and agony

Due to the actions of the defendants, and their privy parties | have suffered a loss over a 6 and
a half year period of my rights to life liberty and property protected by the 14th Amendment of
the U.S. Constitution namely my child custody, my parental rights liberty, the quality of life that |
once enjoyed.

| had to pay out of pocket expenses to entertain the issues that the defendants and their privy
parties have subjected me to rather than granting me due process in equal protection of the law
that they give to other case parties similar or worse than mine that qualified for a service plan
chance to reunification of custody as | did and completed successfully all of such except 1
service | was kicked out of that the agency contracted, and another service | was kicked out of
but did the same service or better twice since | was kicked out of that service and immediately
after | found a better parenting class than that class | was kicked out of in Brookiyn because |
was not racially welcomed and was treated stereotypically as a disrespectful white female. Of
various incidents that | had to pay out of pocket expenses.

My out of pocket expenses have occurred over the 6 and a half years of the co-related case
matter of discussion, that approximately half of was reimbursed in travel reimbursements.

IV. Retief

(Stating briefly what money damages or other relief that | want the Court to order)

| am seeking punitive damages so as to detour the same conduct from ever happening again or
from continuing since | am in appeals and with Higher Court intercessions.

| am seeking compensatory damages for the severe emotional distress that | have suffered and
| am seeking injunctive remedy that would rule on the defendants actions of violation of my civil
rights that would serve as a means for me of my own accord and not impose upon federal court
to impede on state court actions but that | can get a trial of these claims to produce the guilty
results to the state higher courts to take into consideration in returning my child to my custody.
That if at all possible | am asking for injunctive relief to the affect to return my son to my custody
because my substantive and procedural due process rights was obstructed by the actions of the

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defedants and privy parties illicit, customs and practices, misconduct, malpractice, fraudulent
actions that influenced and tampered with the state court impartiality and lack of and ability to
proceed in fair proceedings.
And all other relief possibile.

V. Plaintiff's Certification and Warnings

By signing below, | certify to the best of my knowledge, information, and belief that:

1. The compiaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation);

2. The claims are supported by existing law or by a nonfrivolous argument to change existing
law:

3. The factual contentions have evidentiary support after a reasonable opportunity for further
investigation or discovery; and

4. The complaint otherwise complies with the requirements of Federal Rules of Civil Procedure
11.

{ agree to notify the Clerk’s Office in writing of any changes to my mailing address. | understand
that my failure to keep a current address on file with the Clerk’s office may result in the dismissal
of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking
proceed without prepayment of fees, each plaintiff must also submit IFP application.

H-|J- AOQO Gatot ca Yhiotbacks

Dated Plaintiff's Signature

Jessica Wrobleski

190 Henry Street 1st fl.

Broome County

Binghamton, New York 13901

T: 607-621-0884 E: VWrobleskiGi3&@amail. com

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